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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
SARAH TONEY on behalf of herself and others

similarly situated,

Plamtiff, Case No. 1:13-cev-42

QUALITY RESOURCES, INC., and
CHERYL MERCURIS,

)
)
)
, )
v. ) Chief Fudge Rubén Castillo
)
)
)
)
Defendants. )
FINAL APPROVAL GRDER AND JUDGMENT

This matter having come before the Court on Plaintiff's motion for final approval (the
“Motion for Final Approval”) of a proposed class action settlement (the “Settlement”) of the
above-captioned action (the “Action”) between Plaintiff Sarah Toney (“Plaintiff”), individually
and on behalf of the class of persons she represents (the “Settlement Class” defined below), Quality
Resources, Inc. and Cheryl Mercuris (“Defendants”) (the Plaintiff and the Defendants are
collectively referred to as the “Parties”), pursuant to the parties’ Class Action Settlement
Agreement (the “Agreement” or the “Settlement Agreement”), and having duly considered all
papers filed and arguments presented, the Court hereby finds and orders as follows:

i, Unless defined herein, ali defined terms in this Final Approval Order and Judgment
shall have the respective meanings set forth in the Agreement.

2. This Court has jurisdiction over the subject matter of the Action and over all parties
to the Action, including all Settlement Class Members.

3, The Court preliminarily approved the Settlement Agreement and entered the

Preliminary Approval Order dated May 30, 2018, and notice was given to all members of the

Settlement Class under the terms of the Preliminary Approval Order.

 
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4, The Court has read and considered the papers filed in support of the Motion,
including the Settlement Agreement and the exhibits thereto, memoranda and arguments submitted
on behalf of the Plaintiff, Settlement Class Members, and Sempris, and supporting declarations.
The Court has not received any objections from any person regarding the Settlement.” The Court
held a hearing on September 25, 2018, 2018, at which time the parties [and objecting Settlement
Class Members] were afforded the opportunity to be heard in support of or in opposition to the
Settlement. Furthermore, the Court finds that notice under the Class Action Fairness Act was
effectuated on May 31, 2018, 2018, and that ninety (90) days has passed without comment or
objection from any governmental entity.

5. Based on the papers filed with the Court and the presentations made to the Court at
the hearing, the Court now gives final approval to the Settlement and finds that the Settlement is
fair, adequate, reasonable, and in the best interests of the Settlement Class. This finding is
supported by, among other things, the complex legal and factual posture of the Action, the fact
that the Settlement is the result of arms’ length negotiations presided over by a neutral mediator,
and the settlement benefits being made available to Settlement Class Members.

6, Under Federal Rule of Civil Procedure 23(c), the Court certifies, for settlement
purposes only, the following “Settlement Class”:

All persons or entities who are or were the subscribers and/or customary users of

the telephone numbers on the Class List, and to whom, from January 3, 2009

through the date of preliminary approval, Quality Resources, Inc., made a call or

calls in connection with Stompeez Kids Slippers purchases identified in the

Declaration of Corrine Lefler, ECF 301-2.

The following persons are excluded from the Settlement Class: Defendants,

Sempris any parent, subsidiary, or affiliate of Defendants or Sempris, the officers,

directors, agents, servants, ot employees of any of the foregoing as of the entry of

the Preliminary Approval Order, Class Counsel, the Settlement Administrator, the
Mediator, and any judge presiding over the Action.
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7. Under Federal Rule of Civil Procedure 23, Sarah Toney is hereby appointed as

Class Representative and the following are hereby appointed as Class Counsel:

Alexander Burke

Dan Marovitch

BURKE LAW OFFICES, LLC

155 N. Michigan Ave., Suite 9020

Chicago, IL 60601

Edward Broderick

Anthony Paronich

BRODERICK & PARONICH, P.C.

99 High St., Suite 304

Boston, MA 02110

Matthew McCue

THE LAW OFFICE OF MATTHEW P. MCCUE

1 South Avenue, Suite 3

Natick, Massachusetts 01760

8. With respect to the Settlement Class, this Court finds, for settlement purposes only,

that: (a) the Settlement Class is so numerous that joinder of all members is impracticable; (b) there
are questions of law or fact common to the Settlement Class; (c) the claims of the Class
Representative, identified above, are typical of the claims of the Settlement Class; (d) the Class
Representative will fairly and adequately protect the interests of the Settlement Class; (e) the
questions of law or fact common to the members of the Settlement Class predominate over the
questions affecting only individual members, and (f) certification of the Settlement Class is
superior to other available methods for the fair and efficient adjudication of the controversy. The
Court further finds that: (A) the members of the Settlement Class have a limited interest in
individually prosecuting the claims at issue; (B) the Court is satisfied with the Parties’
representations that they are unaware of any other litigation commenced regarding the claims at

issue by members of the Settlement Class; (C) it is desirable to concentrate the claims in this forum;

and (D) it is unlikely that there will be difficulties encountered in administering this Settlement.
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9. The Court has determined that the Notice given to the Settlement Class, in
accordance with the Notice Plan in the Agreement and the Preliminary Approval Order, fully and
accurately informed members of the Settlement Class of all material elements of the Settlement
and constituted the best notice practicable under the circumstances, and fully satisfied the
requirements of due process, Federal Rule of Civil Procedure 23, and all applicable law.

10. The Court finds that Defendants properly and timely notified the appropriate state
and federal officials of the Settlement Agreement under the Class Action Fairness Act of 2005
(“CAFA”), 28 ULS.C, § 1715.

11. The person whose name was included on the list supplied by Plaintiff as having
made timely and valid request for exclusion, Kimberly Calderon Dkt. No. 412-1 at 36, is excluded
from the Settlement Class and is not bound by this Final Approval Order and Judgment.

12. The Court orders the Parties to the Settlement Agreement to perform their
obligations thereunder. The Settlement Agreement shall be deemed incorporated herein as if
explicitly set forth and shall have the full force of an order of this Court.

13. The Court dismisses this Action with prejudice and without costs or fees (except as
otherwise provided herein and in the Settlement Agreement).

14. On and after the Effective Date, the Releasing Parties, and each of them, are forever
barred and permanently enjoined from directly, indirectly, representatively, or in any other
capacity filing, commencing, prosecuting, continuing, or litigating any other proceeding against
any of the Released Parties in any jurisdiction based on or relating in any way to the Released
Claims, and the Releasing Parties, and each of them, are forever barred and permanently enjoined
from filing, commencing, or prosecuting any lawsuit individually or as a class action against any

of the Released Parties (including by seeking to amend a pending complaint to include class
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allegations or by seeking class certification in a pending action in any jurisdiction) based on or
relating in any way to the Released Claims.

15. The Court further adjudges that upon the Effective Date, the above-described
releases and the Settlement Agreement will be binding on, and have res judicata and preclusive
effect in all pending and future lawsuits or other proceedings maintained by or on behalf of the
Releasing Parties, and each of them.

16. Without affecting the finality of this Final Approval Order and Judgment in any
way, the Court retains jurisdiction over: (a) implementation and enforcement of the Settlement
Agreement until the final judgment contemplated hereby has become effective and each and every
act agreed to be performed by the parties hereto pursuant to the Settlement Agreement have been
performed; (b) any other action necessary to conclude the Settlement and to administer, effectuate,
interpret and monitor compliance with the provisions of the Settlement Agreement; and (c) all
parties to this Action and Settlement Class Members for the purpose of implementing and
enforcing the Settlement Agreement, including the bar order set forth in paragraph 14 above.

17. The Court approves payment of attorneys’ fees, costs, and expenses to Class
Counsel in the amount of $1,100,926.60. This amount shall be paid from the Settlement Fund only
in accordance with the terms of the Settlement Agreement. The Court, having considered the
materials submitted by Class Counsel in support of final approval of the Settlement and their
request for attorneys’ fees, costs, and expenses and in response to the filed objections thereto, finds
the award of attorneys’ fees, costs, and expenses appropriate and reasonable and the Court notes
that the class notice specifically and clearly advised the class that Class Counsel would seek the
award.

18. The Court approves the incentive fee payment of $20,000 for Sarah Toney and
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specifically finds such amount to be reasonable in light of the service performed by Plaintiff for
the class. This amount shall be paid from the Settlement Fund in accordance with the terms of the
Settlement Agreement.

19. Neither this Final Approval Order and Judgment nor the Settlement Agreement
shall be construed or used as an admission or concession by or against either Sempris or any of the
Released Parties of any fault, omission, liability, or wrongdoing, or the validity of any of the
Released Claims. This Final Approval Order and Judgment is not a finding of the validity or
invalidity of any claims in this Action or a determination of any wrongdoing by Sempris or any of
the Released Parties. The final approval of the Settlement Agreement does not constitute any
opinion, position, or determination of this Court, one way or the other, as to the merits of the claims
and defenses of Plaintiff, the Settlement Class Members, or Sempris.

20. Any objections to the Settlement Agreement are overruled and denied in all
respects. The Court finds that no just reason exists for delay in entering this Final Approval Order

and Judgment. Accordingly, the Clerk is hereby directed forthwith to enter this Final Approval

ENTERED: Ace Zn

Chief Judge Rubén Castillo
United States District Court

Order and Judgment.

Dated September 25, 2018
